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   CITY OF LOS ANGELES, JOSE HERNANDEZ AND ERIC WATTS
 7
 8
 9                             UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     JING XU,                                      CASE NO. 2:23CV01575-FLA(SP)
12
                                                   Hon. Fernando L. Aenlle-Rocha, Crtrm 6B,
13                Plaintiff,                       First Street Federal Courthouse

14           v.                                    Hon. Sheri Pym, Magistrate Judge, Crtrm. 3, 3rd
                                                   Floor, George E. Brown, Jr. U.S. Courthouse,
15                                                 Riverside, CA 92501
     City of Los Angeles,
16   Los Angeles Police Department,                JOINT STATUS REPORT
     E Watts, #43716, John Doe
17   J. Velazquez, #42422, John Doe
     Hernandez, #43215, John Doe
18   Maldonado, #43223, John Doe
     Lt. Sanchez, #25339, John Doe
19
                  Defendants.
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21
              TO THE HONORABLE COURT AND TO PLAINTIFF, PRO SE:
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              Please take notice that Defendants, City of Los Angeles, Jose Hernandez and
23
     Eric Watts file this Status Report:
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 1   (a) Summary of the proceedings to date and a statement of the principal issue(s) raised

 2      by the case:

 3         a. Plaintiff: Plaintiff initiated legal proceedings with a complaint filed on March

 4            2, 2023. The complaint alleges false arrest, false imprisonment, and malicious

 5            prosecution, asserting violations of the plaintiff’s Fourth Amendment right,

 6            Fifth Amendment right, and Fourteenth Amendment right.

 7         b. Defendant: Defendants’ contend that the officers’ actions were lawful and

 8            reasonable at all times.

 9   (b) Statement as to whether all parties have been served;

10         a. Plaintiff: All parties have been served with the exception of Lt. Sanchez,
11            #25339, John Doe, who have not yet been located. Efforts to locate this
12            individual are ongoing. Concurrently, I am preparing to file a motion to
13            compel discovery from the defendants, which is aimed at obtaining Lt.
14            Sanchez’s location to facilitate service. This motion will be filed before March
15            1, 2024.
16   (c) Statement as to whether other parties will be added or amended pleadings will be
17      filed, and if so, a proposed deadline by which those steps will be taken:
18         a. Plaintiff: At present, there are no plans to add additional parties to the case.
19            However, I am considering amending the pleadings to include new
20            information that has recently come to light. I anticipate being able to file the
21            amended pleadings by February 29, 2024 and will notify the court and other
22            parties involved in accordance with the relevant procedural rules.
23         b. Defendant: None
24   (d) Description of any discovery completed, and a schedule for any future discovery;
25         a. Plaintiff: The plaintiff has sent the initial phase of discovery, which included
26            Requests for Production, Requests for Admission, and Requests for
27            Interrogatories. Looking ahead, Plaintiff plans to continue with the discovery
28            process by sending a notice for deposition to defendants’ counsel.
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 1             Additionally, Plaintiff will file a request for the Appointment of Counsel to

 2             assist specifically with discovery, and request an Extension of the discovery

 3             timeframe. Anticipate additional requests for admissions and interrogatories

 4             to be made.

 5         b. Defendant has sent Request for Production and Request for Interrogatories and

 6             have noticed Plaintiff’s deposition for February 13, 2024.

 7   (e) Contemplated motions, if any, along with proposed dates for the filing and hearing

 8      of such motions;

 9         a. Plaintiff: Plaintiff intends to file the following motions: firstly, a Motion to

10             compel Production, admissions, and Interrogatories, which is scheduled for
11             filing before March 1, 2024. Secondly, a stipulated protective order will be
12             submitted. Thirdly, Plaintiff will submit a request for the Appointment of
13             Counsel to assist specifically with discovery, and finally, Plaintiff will file a
14             request for an Extension of the discovery timeframe. The proposed dates for
15             submitting these additional requests will be provide as soon as they are
16             determined.
17         b. Defendant: Defendants intend on filing a Motion for Summary Judgment to be
18             filed and heard pursuant to the Court’s scheduling order.
19   (f) Estimate of the time likely to be required for trial, and a statement as to whether trial
20      by jury is desired and has been properly requested;
21         a. Plaintiff: Plaintiff requests a jury trial and estimate that the trial will require
22             approximately four days.
23         b. Defendant: Defendant’s request a jury trial and estimate that the trial will be 3-
24             4 days.
25   (g) Settlement negotiations:
26         a. Mediation has been scheduled for February 21 with an ADR panel mediator.
27             The parties had a pre-mediation call with the mediator prior to selecting the
28             date.
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 1   (h) Any suggestions the parties may wish to make regarding the management of this

 2      action.

 3         a. Plaintiff: Nothing additional

 4         b. Defendant: Nothing additional

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 7   Date: January 24, 2024.

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 9                                                     Jing Xu

10                                                     Plaintiff in Pro Se
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16 Dated: January 26, 2023          HYDEE FELDSTEIN SOTO, City Attorney
17                                  DENISE C. MILLS, Chief Deputy City Attorney
                                    SCOTT MARCUS, Chief Asst. City Attorney
18                                  CORY M. BRENTE, Assistant City Attorney

19
                                    By:       /s/ Shant Taslakian
20                                                SHANT TASLAKIAN
                                                    Deputy City Attorney
21
                                    Attorneys for Defendants,
22                                  CITY OF LOS ANGELES, JOSE HERNANDEZ
                                    AND ERIC WATTS
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